    Case: 1:22-cv-03470 Document #: 18 Filed: 08/09/22 Page 1 of 3 PageID #:2865




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



DIANE WILLIAMS, individually and as next
friend to minor C.M.,

                   Plaintiff,

        v.                                          Case No. 1:22-cv-03470

META PLATFORMS, INC.,
FACEBOOK HOLDINGS, LLC,
FACEBOOK OPERATIONS, LLC,
FACEBOOK PAYMENTS, INC.,
FACEBOOK TECHNOLOGIES, LLC,
INSTAGRAM, LLC, AND
SICULUS, INC.,

                   Defendants.



    DEFENDANT META PLATFORMS, INC.’S NOTIFICATION OF AFFILIATES

   Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Defendant Meta Platforms,

Inc. (“Meta”) discloses the following:

   1. Meta has no parent corporation. Blackrock, Inc., a publicly traded company, owns more

than five percent of Meta’s stock.




                                              -1-
   Case: 1:22-cv-03470 Document #: 18 Filed: 08/09/22 Page 2 of 3 PageID #:2866




Dated: August 9, 2022

                                        Respectfully submitted,


                                        /s/ Jacob T. Spencer
                                        Jacob T. Spencer (N.D. Ill. #1023550)
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                                        Attorney for Defendants Meta Platforms, Inc.,
                                        Facebook Holdings, LLC, Facebook Operations,
                                        LLC, Facebook Payments, Inc., Facebook
                                        Technologies, LLC, Instagram, LLC, and Siculus,
                                        Inc.




                                       -2-
   Case: 1:22-cv-03470 Document #: 18 Filed: 08/09/22 Page 3 of 3 PageID #:2867




                                CERTIFICATE OF SERVICE

       I certify that, on August 9, 2022, a true and correct copy of this Notification of Affiliates

was served by ECF on all counsel of record.



                                              /s/ Jacob T. Spencer
                                                  Jacob T. Spencer




                                                -3-
